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                              UNITED STATES DISTRICT COURT
17                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
19                                                )
      East Bay Sanctuary Covenant, et al.,        )
20                                                )
                    Plaintiffs,                   )   EMERGENCY MOTION TO
21
                                                  )   SHORTEN TIME
22                                                )
      v.                                          )   Civil Action No. 1:18-cv-06810-JST
23                                                )
24    Donald J. Trump, President of the United    )
      States, et al.,                             )
25                                                )
                    Defendants.                   )
26                                                )
27
28


     DEFENDANTS’ MOTION TO SHORTEN TIME
     East Bay Sanctuary v. Trump,
     Case No. 1:18-cv-06810-JST
               Case 4:18-cv-06810-JST Document 53 Filed 11/27/18 Page 2 of 3




 1           Defendants have filed an emergency motion to stay the Court’s temporary restraining order
 2   (ECF No. 43) issued November 19, 2018. See ECF No. 52. Defendants now respectfully move
 3   this Court to shorten the time for briefing of that motion for stay. Defendants request that the
 4   Court issue a decision on the motion no later than November 28, 2018. If the Court does not grant
 5   Defendants’ motion by November 28, Defendants intend to file with the United States Court of
 6   Appeals for the Ninth Circuit a motion seeking a stay of the temporary restraining order .
 7           Defendants have conferred with Plaintiffs, who indicate that they oppose the motion for
 8   stay.
                                                  Respectfully submitted,
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28   Dated: November 27, 2018                     Attorneys for Defendants

     DEFENDANTS’ MOTION TO SHORTEN TIME
     East Bay Sanctuary v. Trump,                    1
     Case No. 1:18-cv-06810-JST
               Case 4:18-cv-06810-JST Document 53 Filed 11/27/18 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that on November 27, 2018, I electronically filed the foregoing document
 3   with the Clerk of the Court for the United States Court of for the Northern District of California
 4   by using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will
 5   be accomplished by the CM/ECF system.
 6
                                      By: /s/ Erez Reuveni
 7
                                          EREZ REUVENI
 8                                        Assistant Director
                                          United States Department of Justice
 9                                        Civil Division
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     DEFENDANTS’ MOTION TO SHORTEN TIME
     East Bay Sanctuary v. Trump,                    2
     Case No. 1:18-cv-06810-JST
